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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                               WESTERN DIVISION



United States of America,                                     Case No. 3:10cr464

         Plaintiff(s)

 -v-                                                          ORDER

Marissa M. Mayers,


                Defendant(s)



        This is a criminal case which was referred to United States Magistrate Judge James R.

Knepp, for the taking, on consent of the parties, of a plea of guilty. The Magistrate Judge has

filed his Report & Recommendation; no objection has been filed.

        I have read the transcript and reviewed the Magistrate Judge’s Report &

Recommendation, and find that in his careful and thorough proceeding, the Magistrate Judge

satisfied all requirements of Fed. R. Crim. P. 11 and the United States Constitution: he correctly

found the defendant to be competent, aware of the charge and consequences of conviction and

her rights and the waiver thereof. He also correctly found that the defendant had consented to

proceed before the Magistrate Judge and tendered her plea of guilty knowingly, intelligently, and

voluntarily. Finally, the Magistrate Judge also correctly found that there was an adequate factual

basis for the plea.
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       On de novo review of the record and Report & Recommendation, I accept and adopt the

Magistrate Judge’s findings, and conclude that the defendant’s plea of guilty conforms to all

applicable provisions of Rule 11 and the Constitution.

       In light of those findings and that conclusion, it is hereby

       ORDERED THAT the defendant’s plea of guilty is accepted and a finding of guilty shall

be entered.

       So ordered.




                                                      S/ James G. Carr
                                                      United States District Judge
